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                               IN THE UNITED STATES DISTRICT COURT FOR THE
                                              WESTERN DISTRICT OF MISSOURI
                                                   CENTRAL DIVISION

UNITED STATES OF AMERICA

-vs-                                                                    Case No.: 05-4043-01-CR-C-NKL

MICHAEL RAY SULLIVAN

                                                                        USM Number: 17954-045

                                                                        Troy Stabenow, FPD
                                                                        221 Bolivar St., Ste. 104
                                                                        Jefferson City, MO 65101
___________________________________

                                               JUDGMENT IN A CRIMINAL CASE


The defendant pleaded guilty on June 22, 2006, to Count 1 of the Indictm ent & Count 3ss of the Inform atio n. A cc ordingly,
the court has ad judicated that the defendant is guilty of the following offense (s):


                                                                                             Date Offense             Count
       Title & Section                             Nature of Offense                          Concluded             Num ber(s)

 21 U.S.C . 841(a)(1) &         Co nsp iracy to P oss ess with the Intent to Distribute      June 24, 2005               1
 846                            500 Grams or More of Methamphetamine

 21 U.S.C. 853                  Crim inal Forfeiture                                                                    3ss

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

Count(s) 2, 1s, & 2s are dismissed on the motion of the United States.

IT IS ORDERED that the defendant sh all notify the U nite d State s attorney for this district with in 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                        Date of Imposition of Sentence:
                                                                        October 11, 2006




                                                                            ________________/s Nanette K. Laughrey________
                                                                                              NAN ETT E LAUG HRE Y
                                                                                         UNITED STATES DISTRICT JUDGE

                                                                                                       October 11, 2006




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                                                    IMPRISONMENT
         The defendan t is hereby comm itted to the custody of the United States B ureau of Prisons to be imprisone d for a
total term of 48 Months on Count 1 of the Indictment.

         The Court recomm ends to the Bureau of Prisons:

                  The Court recomm ends that the defendant be designated to an institution where he may
                  participate in the 500-Hour Residential Drug Treatment Program.

        The defendant sh all surrender for service of sentence at the institution designated by the Bureau of Prisons befo re
2:00 P.M . on Jan uary 3, 20 07, as notified by the Probation or Pretrial Services Office.




                                                        RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                             __________________________________
                                                                                   UNITED STATES MARSHAL


                                                                         By:__________________________________
                                                                                     Deputy U.S. Marshal




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                                                   SUPERVISED RELEASE

       Upon release from imprisonm ent, the defendant sha ll be on sup ervised release for a term 5 years on Count 1 of the
Indictment.

        The defendan t shall report to the probation office in the district to which the defendant is released within 72 hours of
release from custody of the Bureau of Prisons.

         The defendant shall not comm it another federal, state or local crime.

          The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a c ontro lled substa nce . The defendant shall submit to one drug test within 15 days of release from imprisonment and
at leas t two periodic drug tests thereafter, as determ ined by the court.

         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         If this judgment imposes a fine or restitution, it is a condition of s upervision that the defendant pay in acc orda nce with
the S che dule of Paym ents she et of this judg m ent.

        The defendant must com ply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION

1.       The defendan t shall not leave the judicial district without the perm ission of the court or probation officer;

2.       The defendan t shall report to th e probation officer an d shall subm it a truth ful and com plete w ritten re port within the
         first five days of each month;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

4.       The defendant shall support his or her dependents and meet other family responsibilities;

5.       The defendant sh all work regularly at a lawful occupatio n, unless excused by the pro bation officer for schooling,
         training, or other acceptable reasons;

6.       The defendan t shall notify the probation officer at least ten (10) days prior to any change in residence o r em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         administer any controlled substa nce or an y paraphernalia related to any controlled substances, except as prescribed
         by a physician;

8.       The defendan t shall not freque nt places where controlled substances are illegally sold, used, distributed, or
         administered;

9.       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
         convicted of a felony, unless granted perm ission to do so by the probation officer;

10.      The defendant sh all perm it a probation officer to visit him or h er at any tim e at hom e or els ew here and shall perm it
         confiscation of any contraband observed in plain view by the probation officer;

11.      The defendant shall notify the probation officer with in seventy-two (72) hours of being arrested or q uestio ned by a
         law enforcem ent officer;

12.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the perm ission of the cou rt;

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13.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
         notifica tions a nd to con firm the defenda nt’s co m plianc e with s uch notifica tion req uirem ent.




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                             ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         Th e de fendan t shall also co m ply with the following ad ditional cond itions of sup ervised re lease:

1.       The defe nda nt shall succes sfully participate in a substance abuse counseling program, which may include urinalysis,
         sweat patch, or Breathalyzer testing, as approved by the Probation Office, and pay any associated costs as directed
         by the P roba tion O ffice.


2.       Th e de fendan t shall not con sum e or p oss ess alcoh olic bevera ges or be er, including 3.2 percent beer, a t any tim e.


3.       The defendant sh all subm it his person, residence, office or vehicle to a search, conducted by a U.S. Probation Officer
         at a reasonable time and in a rea sonable m anner, base d upon rea sonab le suspicion of contraband or evidence of a
         violation of a condition of release; failure to subm it to a search m ay be grounds for revocation; the defendant sha ll warn
         any oth er residents that the prem ises m ay be s ubje ct to searc hes purs uan t to this cond ition.




                                     ACKNOWLEDGMENT OF CONDITIONS

         I have read or have read the conditions of supervision set forth in this judgm ent and I fully understand them . I have
bee n pro vided a copy of the m .

         I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision,
(2) exten d the term of su perv ision, and/o r (3) m odify the con ditions of su perv ision.

_______________________________________                    ____________________
Defendant                                                  Date

________________________________________                   ____________________
United States Probation Officer                             Date




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                                               CRIMINAL MONETARY PENALTIES


       The defendant must pay the tota l crim inal m oneta ry pe nalties under the schedule of p aym ents s et forth in the Sc hedule
of Payments.


             Total Assessment                                       Total Fine                                   Total Restitution

                    $100.00                                               $                                                 $



         The defendan t shall pay interest on any fine or restitution of m ore than $2,500, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Sched ule of Paym ents m ay be subject to penalties for delinquency and default, pursuant to 18 U.S .C. § 3612(g).

*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.




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                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

         Lum p sum paym ent of $100.00 due im m ediate ly.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonm ent, paymen t of criminal mo netary
penalties is due during im prison m en t. All criminal monetary penalties, except those payments m ade through the Federal
Bureau of Prisons’ Inm ate F inancial Resp ons ibility Program , are m ade to the c lerk of the cou rt.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




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